Upon a former appeal in this case an opinion was rendered (56 S.D. 399, 228 N.W. 804, 805) whereby the cause was "remanded with directions to the trial court to enter judgment in conformity to this opinion." A subsequent judgment was entered by the trial court, and this is an attempted appeal from that judgment. *Page 265 
We refrain from in any way passing upon the question of whether an appeal is the proper procedure to present the questions involved to this court. However, from the record as made, it is so apparent to us that the subsequent decree of the trial judge is in conformity to the mandate of this court in its former opinion that without further discussion the judgment as now entered is affirmed.
CAMPBELL, P.J., and POLLEY, ROBERTS, WARREN, and RUDOLPH, JJ., concur.